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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION


                                                §
                                                §
 In re Kia Hyundai Vehicle Theft Litigation     §   MDL No. 3052
                                                §
                                                §


                               NOTICE OF RELATED ACTION

       Pursuant to Rule 6.2(d) of the Rules of Procedure of the U.S. Judicial Panel on Multidistrict

Litigation, Defendants Kia America, Inc., Hyundai Motor America, and Hyundai America

Technical Center, Inc. hereby provide notification of the following related action:

       1.      Jeong v. Kia America, Inc., No. 5:22-cv-01290 (W.D. Texas)

       A copy of the related action’s docket sheet and complaint (as publicly filed and without

exhibits) is attached as Exhibit 1.




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Dated: December 5, 2022                  Respectfully submitted,

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